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                              UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

  IN RE: KATRINA CANAL BREACHES                                 *       CIVIL ACTION
  CONSOLIDATED LITIGATION
  ___________________________________________                   *       NUMBER: 05-4182

  LEVEE CASES                                                   *       SECTION: “K” (2)
  PERTAINS TO:        06-4931
  (Emma Brock, et al)                                           *       JUDGE DUVAL

                                                  *     MAG. WILKINSON
  __________________________________________________________________________
              CERTIFICATE PURSUANT TO LOCAL CIVIL RULE 7.6E

         Undersigned counsel hereby certifies that counsel for the United States of America and

  all other defendants in 06-4931, have been contacted regarding the accompanying Motion for

  Leave to File Second Supplemental and Amending Complaint for Damages and opposition has

  been expressed.

                                                Respectfully submitted,


                                              s/Robert J. Caluda
                                              Robert J. Caluda
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                                              Attorney for Plaintiffs
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on 8/29/07, I electronically filed the foregoing with the Clerk of Court
  by using the CM/ECF system which will send notice of electronic filing upon all counsel of record
  by ECF.
                         /s/Robert J. Caluda
                              Robert J. Caluda
